Case 2:16-cv-14424-KAM Document 13 Entered on FLSD Docket 02/24/2017 Page 1 of 2




                             UN ITED STA TES D ISTRICT CO U RT
                             SO UTH ERN D ISTRICT OF FLO RID A




 PA TRICIA KEN N EDY ,
        Plaintiff5



 STU A RT PLAN TA TIO N ,LLC ,

        D efendant.


                       FIN A L O RD ER A PPR O V IN G AN D EN TER IN G
                       C O N SEN T DE CR EE A N D D ISM ISSIN G C A SE

        T H IS C A U SE cam e before the Court on the Stipulation For A pproval and Entry of a

 Consent Decree and Dism issal of the C ase, and the Coul't having review ed the pleadings and

 papers tiled in this cause,and the Stipulation for A pproval and Entry of Consent D ecree and

 being otherw ise fully advised in the prem ises,itishereby

  O R DER ED A ND A D JU D G ED :

               The Consent D ecree, in the form annexed to the Parties' Stipulation, is

 APPROVED and ENTERED,with the Coul'tretaining jurisdiction over this matter for the
 purpose ofenforcem entofthe ConsentD ecree;

        2.     Theabove-styledcausebeandthesameisherebyDISMISSED withprejudice'
                                                                              ,
               To the extent not othefw ise disposed of herein, a11 pending m otions are hereby

 D EN IED asm ootand the case isclosed.
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                                                        CASE NO .:16-CV-l4424-M A RRA/LYNCH
                                                        FinalOrderApproving and Entering Consent
                                                                      Decreeand Dism issing Case
                                                                                          Page 2



                                                     W CJY PKW                   S
        DO NE A N D O R D ERE D in Cham bers in                   ,                  , Florida,

 this/ l> dayof c kocw,.c
                      -
                                             2017.

                                                  K EN N ETH A .M A RRA
                                                  U nited StatesD istrictJudge




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